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 1

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 5

 6
                       IN THE UNITED STATES DISTRICT COURT
 7             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8
     WILLIAM V. LANGFITT III, individually, and
 9   as executor of the Estate of the William V.
     Langfitt, IV, and PATRICIA E. LANGFITT,
10   individually,
                                                   No. C21-5122 BHS
11
     Plaintiffs,                                   1st AMENDED COMPLAINT
12   v.
                                                   JURY DEMAND
13   PIERCE COUNTY, COLBY EDWARDS and
     "JANE DOE" EDWARDS,
14
     Defendants.
15

16
             Plaintiffs, William V. Langfitt III, individually and as Personal
17
     Representative of the ESTATE OF WILLIAM V. LANGFITT IV, and Patricia E.
18
     Langfitt, by and through their attorneys, allege as follows:
19
                                          Introduction
20
             1.    William V. Langfitt IV (Billy) was a loved, creative, ambitious young
21
     man who was dedicated to his family and had high expectations for his future. Billy
22
     should be alive today.
23
             2.    Instead, Billy was shot and killed by Pierce County Sheriff Colby
24
     Edwards. At the time of his death, Billy was unarmed and seeking the assistance
25
     of Deputy Edwards. This was the Second person that Deputy Edwards had shot
26
     and killed within a 12-month timespan.
27


      COMPLAINT - 1                                                       JAMES BIBLE LAW GROUP
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 1
           3.        Deputy Edwards was operating under the reckless direction and
 2
     supervision of Defendant Pierce County at the time he shot and killed Billy.
 3
           4.        The Defendants had no legal reason to seize or use force against Billy.
 4
     Rather than seeking to assist Billy, who was clearly in need of help, Deputy
 5
     Edwards pulled out his firearm, pointed it at Billy and fired several shots at him.
 6
     Billy was unarmed.
 7
           5.        Billy experienced extreme fear and anxiety as a result of Deputy
 8
     Edwards pointing a firearm and then firing several shots at him.
 9
           6.        Billy experienced significant pain and suffering as a direct result of
10
     being shot repeatedly by Deputy Edwards. Billy had enough time to contemplate
11
     his death and the harsh reality that he would never see his mother, father or twin
12
     sister again.
13
           7.        Despite Deputy Edwards conduct, Pierce County has approved and
14
     ratified the Defendant deputies’ actions. That is because those actions were
15
     consistent with Pierce County policy, and they occurred because of Pierce County’s
16
     failure to adequately train, supervise, and discipline its deputies. Pierce County
17
     implicitly and overtly condones and defends deputies that shoot and kill unarmed
18
     individuals. Further, Pierce County repeatedly fails to discipline deputies who
19
     commit acts of excessive force especially when it involves the use of deadly force.
20
     Pierce County has failed to discipline any deputy for the use of deadly force that
21
     lead to the death of a person. Pierce County Deputies are aware that they are
22
     unlikely to receive any discipline from the county when they use deadly force
23
     against a human being. As a result, Pierce County is liable for the violation of
24
     Billy’s constitutional rights, and his unlawful death, as well.
25
           8.        Nothing can bring Billy back to his loving family, friends, and
26
     community. This action, brought under the United States Constitution and the laws
27


      COMPLAINT - 2                                                         JAMES BIBLE LAW GROUP
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 1
     of the State of Washington, nonetheless the plaintiffs seek some measure of justice
 2
     for the wrongful, unjustified actions of Pierce County and Pierce County Deputy
 3
     Colby Edwards. Billy’s parents are forever harmed by the wrongful death of Billy.
 4

 5                                         Parties

 6         9.     William V. Langfitt IV is the father of the late William V. Langfitt IV

 7   and the Personal Representative of his Estate.

 8         10.    Patricia Langfitt is the mother of the late William V. Langfitt IV.

 9         11.    William V. Langfitt IV (Billy) is the decedent who was shot and killed

10   by Defendant Pierce County Deputy Colby Edwards.

11         12.    Defendant Pierce County is a municipal corporation located in the

12   Western District of Washington. At all times material to this Complaint, all

13   individual Defendants named herein were agents of Pierce County, acting within

14   the scope of their employment, and under color of state law.

15         13.    Defendant Colby Edwards was at all times material to this Complaint

16   a Pierce County Sheriff’s Deputy.

17         14.    At all times relevant, Defendants were acting under color of law and as

18   agents of Pierce County.

19                                Jurisdiction and Venue

20         15.    This Court has jurisdiction over Plaintiffs’ federal claims pursuant to

21   28 U.S.C §§ 1331 and 1343.

22         16.    This Court has jurisdiction over Plaintiffs’ state law claims pursuant to

23   28 U.S.C. § 1367.

24         17.    Venue is appropriate in the Western District of Washington pursuant

25   to 28 U.S.C. § 1391 because at least some of the Defendants reside in this judicial

26   district and because the events and omissions giving rise to the claims alleged

27   herein occurred within the Western District of Washington.


     COMPLAINT - 3                                                      JAMES BIBLE LAW GROUP
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 1

 2
                      The Unjustified Shooting of William V. Langfitt IV
 3
           18.    On March 16, 2018, Defendant Colby Edwards was working as a Pierce
 4
     County Sheriff’s Deputy.
 5
           19.    As part of Defendant Colby Edwards duties as a Pierce County Deputy,
 6
     he was required to patrol Pierce County and respond to scenes that he was
 7
     dispatched to.
 8
           20.    Deputy Edwards duties as a Pierce County Deputy included being
 9
     dispatched to and responding to scenes in which individuals were experiencing
10
     mental health episodes.
11
           21.    As a result, it was foreseeable that Deputy Edwards would be
12
     dispatched to assist those that were experiencing a mental health episode/s.
13
           22.    Pierce County failed to adequately train Deputy Edwards in assisting
14
     those that were experiencing some form of mental health issue.
15
           23.    Pierce County failed to provide Deputy Edwards with the necessary
16
     tools to assist in addressing a civilian that was experiencing a mental health issue.
17
           24.    On March 16, 2018, Naomi Powers, Billy Langfitt’s girlfriend, was
18
     attempting to get Billy mental health assistance.
19
           25.    In attempt to get assistance for Billy, Naomi dialed 911, and told
20
     dispatch her friend was having a mental health crisis and she needed someone to
21
     help her get Billy to the hospital.
22
           26.    At the time that Naomi called the police, Billy had jumped out her car
23
     and was standing the street barefoot in a tee shirt and shorts.
24
           27.    While Noami was on the phone with 911 she saw Billy in the street
25
     barefoot with nothing but shorts and a tee shirt on. He was holding nothing but a
26
     picture of his grandfather.
27


      COMPLAINT - 4                                                      JAMES BIBLE LAW GROUP
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 1
           28.    Billy was not wearing any items where he could have concealed a
 2
     weapon.
 3
           29.    Naomi made it clear to 911 dispatchers that Billy did not possess any
 4
     form of weapon when he was standing outside of her car.
 5
           30.    Defendant Deputy Edwards arrived on the scene, flung his door open
 6
     and immediately drew his firearm.
 7
           31.    Defendant Deputy Edwards had his gun trained on Billy Langfitt.
 8
           32.    Defendant Deputy Edwards failed to close his door behind him.
 9
           33.    Defendant Deputy Edwards failed to secure his police vehicle.
10
           34.    Defendant Deputy Edwards left his keys in his police vehicle.
11
           35.    Defendant Deputy Edwards left his police vehicle on.
12
           36.    Defendant Deputy Edwards actually moved away from the driver side
13
     door of his patrol car. As a result, nearly any person that was nearby could have
14
     gained access to his patrol vehicle.
15
           37.    Defendant Deputy Edwards had a duty to keep his patrol car secure
16
     from potential intruders.
17
           38.    Defendant Deputy Edwards knew or should have known that he had
18
     been dispatched to assist a person that was having a mental health crisis.
19
           39.    Defendant Deputy Edwards, as a Pierce County Deputy, has a duty to
20
     respond to scenes that he is dispatched to.
21
           40.    Defendant Deputy Edwards has a duty to assist individuals that are
22
     experiencing mental health difficulties when he is dispatched to scenes involving
23
     individuals that are having mental health issues.
24
           41.    Plaintiff believes that Deputy Edwards treated Billy differently
25
     because Billy was experiencing a mental health crisis.
26

27


      COMPLAINT - 5                                                    JAMES BIBLE LAW GROUP
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 1
               42.   Upon information and belief, Deputy Edwards failed to recognize Billy
 2
     was suffering from a mental illness and did not follow police practices.
 3
               43.   It is foreseeable that when Deputy Edwards pointed his gun at Billy
 4
     Langfitt, Deputy Edwards failed to use reasonable care to would avoid using deadly
 5
     force, Deputy Edwards failed to recognize Billy was experiencing a mental health
 6
     impairment and pointing his gun at Billy could unreasonably escalate a situation and
 7
     these actions culminated into Deputy Edwards shooting and killing Billy Langfitt.
 8
               44.   It is foreseeable that pointing a gun at an individual who is unarmed
 9
     would cause significant anxiety for the person that has the gun pointed at them.
10
               45.   Defendant Deputy Edwards’s acts were unreasonable, negligent, and
11
     reckless; he failed to follow accepted police practices; and he unreasonably escalated
12
     the likelihood that the encounter would result in a use of unnecessary force.
13
               46.   Defendant Deputy Edwards further and unnecessarily escalated this
14
     incident by drawing his firearm and pointing it at Billy Langfitt who was unarmed.
15
               47.   Defendant Deputy Edwards did not attempt to use any words to de-
16
     escalate this situation with Billy Langfitt who was experiencing a mental health
17
     crisis.
18
               48.   Billy Langfitt was experiencing trauma and was afraid for his life.
19
               49.   Billy Langfitt did not make any verbal or physical threats toward
20
     Defendant Deputy Edwards.
21
               50.   Billy Langfitt did not attempt to make physical contact with Defendant
22
     Deputy Edwards,
23
               51.   Billy Langfitt never touched Defendant Deputy Edwards.
24
               52.   At the time that Defendant Deputy Edwards shot Billy Langfitt, Billy
25
     was unarmed.
26

27


      COMPLAINT - 6                                                       JAMES BIBLE LAW GROUP
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 1
               53.   At the time that Defendant Deputy Edwards shot Billy Langfitt, Billy
 2
     was NOT a danger to Deputy Edwards or others.
 3
               54.   Billy Langfitt was unarmed when he approached Deputy Edward’s
 4
     patrol car.
 5
               55.   Rather than use less lethal force, Deputy Edwards chose to shoot Billy
 6
     Langfitt repeatedly.
 7
               56.   Prior to calling for emergency, Deputy Edwards rolled Billy Langfitt
 8
     over and handcuffed him.
 9
               57.   Naomi Powers witnessed and could see where Defendant Deputy
10
     Edwards was located at the time he began to shoot and during the shooting death of
11
     Billy Langfitt.
12
               58.   Defendant Deputy Edwards was reckless and used excessive and
13
     unreasonable force. This decision was unreasonable, negligent, and reckless; he
14
     failed to follow accepted police practices; and he unreasonably escalated the
15
     likelihood that the encounter would result in a use of unnecessary force.
16
               59.   Rather than allowing the shooting death of Billy Langfitt to be
17
     investigated by an independent agency, Pierce County investigated this incident
18
     itself.
19
               60.   Pierce County failed to adequately investigate the shooting death of
20
     Billy Langfitt and quickly ratified the actions of Defendant Deputy Edwards.
21
               61.   After the shooting, Defendants made false claims about Billy Langfitt
22
     and sought to misrepresent what had actually occurred during this incident.
23
               62.   Defendant’s sought to withhold evidence from the public by failing to
24
     timely disclose documents that were subject to public disclosure. Many of the
25
     documents that eventually were released via public disclosure were heavily
26
     redacted by Pierce County.
27


      COMPLAINT - 7                                                       JAMES BIBLE LAW GROUP
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 1
              63.   Upon information and belief, Pierce County investigation findings
 2
     condoned Deputy Edwards use of deadly force against an unarmed person suffering
 3
     from a mental health impairment.
 4
              64.   Defendants failed to preserve or accurately document the scene.
 5
              65.   Defendants failed to preserve or adequately test the physical evidence
 6
     that could help determine the circumstances of the shooting.
 7
              66.   Defendants failed to create an accurate crime scene log.
 8
              67.   Defendants’ accounts of the shooting were both internally inconsistent
 9
     and inconsistent with the physical evidence.
10
              68.   Defendant Pierce County put out public statements minimizing the
11
     acts of Defendant Deputy Edwards and, at the same time, painted Billy in a
12
     negative light prior the completion of the investigation.
13
              69.   Defendant Pierce County has failed to equip its Deputies with body
14
     camera’s and in car dash cameras. As a result, Pierce County does not possess the
15
     ability to adequately monitor, supervise and evaluate the actions of it’s deputies and
16
     those people that it’s deputies interact with.
17
              70.   Billy Langfitt’s parents, William Langfitt III and Patricia Langfitt, will
18
     never forget learning the heartbreaking news that their son had been shot and
19
     killed by Deputy Edwards.
20
              71.   Billy’s parents are devastated to know that they have outlived their
21
     child.
22
              72.   Billy’s parents have thought about Billy every day since he was killed
23
     by Defendant Deputy Edwards.
24
              73.   Billy’s parents miss the care and support that Billy provided to them. They
25
     wish they could hear his voice or give him a hug. There is an empty space at their dinner
26

27


      COMPLAINT - 8                                                        JAMES BIBLE LAW GROUP
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 1
     table during the holidays. Billy’s parents looked forward to the possibility that Billy
 2
     would get married and have children in the future.
 3
                            Pierce County’s Responsibility for
 4
                      the Deadly Force Used Against Billy Langfitt IV
 5

 6          74.    Defendant Pierce County failed to adequately train and equip Deputy

 7   Edwards with the tools necessary to address issues related to unarmed individuals

 8   that were in need of mental health assistance. Deputy Edwards clearly had

 9   inadequate training as evidenced by the fact that Defendant Deputy Edwards

10   immediately drew his firearm when dealing with an unarmed person that was

11   having a mental health incident. At no point did Billy attempt to touch or harm

12   the deputy. Further, Deputy Edwards unreasonably left the door of his patrol car

13   open and unsecured when he got out of the vehicle and immediately drew his

14   weapon. Rather than using de-escalation tactics, Defendant Deputy Edwards

15   immediately went to deadly force. He shot and killed an unarmed person while

16   employed and working as a Pierce County Deputy. Deputy Edwards was working

17   within the scope and authority given to him as a law enforcement deputy when he

18   shot Billy Langfitt, who was unarmed. Pierce County quickly condoned, ratified

19   and attempted to absolve Defendant Deputy Edwards of any wrongdoing in relation

20   to the shooting death of Billy Langfitt.

21          75.    These actions were unreasonable, negligent, and reckless, and they

22   failed to follow accepted police standards. Pierce County is liable for these negligent

23   actions by its Deputy, which foreseeably resulted in the unreasonable use of deadly

24   force on an innocent person who was in need of help.

25          76.    Following the shooting, Pierce County failed to recognize that there

26   were a number of deficiencies with this incident, including:

27


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 1
            a. There was no little to no training of Deputies in relation to dealing with
 2
                 individuals that were experiencing mental health issues;
 3
            b. No mental health professionals were dispatched to a scene that clearly
 4
                 involved an individual that was experiencing a mental health issue;
 5
            c. Pierce County does not have an adequate means of evaluating the actions
 6
                 and activities of its deputies because it has failed to equip its deputies
 7
                 with body cameras or in car dash cameras. Instead, Pierce County is
 8
                 reliant upon the word of its deputies;
 9
            d. Rather than having an independent agency evaluate and investigate the
10
                 shooting death of Billy Langfitt, Pierce County conducted its own
11
                 investigation;
12
            e. Defendant Deputy Edwards unnecessarily escalated the use of force to
13
                 deadly force;
14
            f. Command staff failed to adequately train and supervise Defendant
15
                 Deputy Edwards;
16
            g. Command staff failed to address issues pertaining to Deputy Edwards
17
                 leaving his vehicle unattended and unsecure.
18
            h. Ultimately, Pierce County failed to adequately address the fact that
19
                 Defendant Deputy Edwards shot and killed an unarmed person.
20
           77.     The myriad of failures described in the paragraphs above were due to,
21
     and were emblematic of, Pierce County’s inadequate and reckless policies,
22
     procedures, customs, and supervision regarding arrests for major crimes and the
23
     use of deadly force.
24
           78.     Pierce County was deliberately indifferent to the fact that its
25
     inadequate and reckless policies, procedures, customs and supervision would be the
26
     moving force behind its deputies using unnecessary and unreasonable force.
27


      COMPLAINT - 10                                                       JAMES BIBLE LAW GROUP
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 1
            79.    When conducting its official review of the shooting, Defendant Pierce
 2
     County has found the Defendant Deputy’s use of deadly force against an unarmed
 3
     Billy Langfitt was in accord with its policies, practices, and customs.
 4
            80.    Upon information and belief, none of the Defendants were subject to
 5
     any discipline as a result of their role in causing Billy’s unjustified and unnecessary
 6
     death or the violations of policy and reckless actions described above.
 7
            81.    Pierce County’s ratification of the shooting continues, and its
 8
     ratification and its failure to take corrective action reflects its deliberate
 9
     indifference to the danger of constitutional violations and physical harm its policies
10
     and practices create.
11
            82.    Upon information and belief, Pierce County has not implemented any
12
     changes that would fix the flaws in the policies and customs described above.
13
            83.    Pierce County’s policymakers’ refusal to scrutinize the inconsistent
14
     statements of the Defendant Deputy and contrast that to the physical evidence is
15
     part and parcel of the County’s continued deliberate indifference to the risks created
16
     by its inadequate training, supervision, and discipline of sheriff’s deputies who use
17
     excessive force or foreseeably create situations likely to lead to great bodily harm,
18
     injury, or even death.
19
                                Plaintiffs’ Immense Damages
20
            84.    Billy Langfitt IV was 28 years old, and had a life expectancy for
21
     decades of vibrant living. Billy had a passion for life, a loved to work with his hands
22
     and enjoyed time with his family. He hoped to have children of his own some day.
23
            85.    Billy experienced unthinkable pain, suffering, and fear for the
24
     imminent loss of his life. Billy continued to suffer before he passed away.
25
            86.    As a result of the shooting and loss of their son, William Langfitt III
26
     and Patricia Langfitt suffered injury to their parent child relationship Billy. They
27


      COMPLAINT - 11                                                        JAMES BIBLE LAW GROUP
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 1
     have suffered, and continue to suffer, serious emotional harm as a result of
 2
     Defendants’ deliberate and reckless conduct.
 3
           87.     As a proximate result of the Defendants’ unlawful conduct described
 4
     above, Plaintiffs have incurred medical and funeral expenses, lost earnings and
 5
     earning capacity, suffered physical and emotional pain, suffering, and
 6
     disfigurement, lost liberty, lost the enjoyment of life, and suffered other special and
 7
     general damages.
 8
                                Count I – Fourth Amendment
 9
           88.      Each of the Paragraphs in this Complaint is incorporated as if
10
     restated fully herein.
11
           89.      As described in the preceding paragraphs, the Defendant Deputy’s
12
     actions toward Billy violated his constitutional rights guaranteed against state
13
     incursion by the Fourth and Fourteenth Amendments of the United States
14
     Constitution due to his unreasonable seizure of his person.
15
           90.      The misconduct described in this Count was objectively unreasonable
16
     and undertaken with willfulness and reckless indifference to the rights of others.
17
           91.      The conduct described in this Count was undertaken pursuant to the
18
     policies, practices, and customs of Pierce County, such that the County is liable in
19
     the following ways:
20
            a. The County, through its approval of the Defendant Deputies actions, has
21
                 ratified Deputy Edwards’ conduct and thereby showed that the
22
                 Defendant Deputies acted pursuant to and in a manner consistent with
23
                 the polices, customs, and practices of the County.
24
            b. As a matter of both policy and practice, the County encouraged, and was
25
                 thereby the moving force behind, the misconduct at issue here by failing
26

27


      COMPLAINT - 12                                                     JAMES BIBLE LAW GROUP
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 1
                    to adequately train, supervise, control and discipline its deputies such
 2
                    that its failure to do so has manifested deliberate indifference;
 3
              c. As a matter of both policy and practice, Pierce County has facilitated the
 4
                    very type of misconduct at issue here by failing to adequately
 5
                    investigate, punish, and discipline prior instances of similar misconduct,
 6
                    thereby foreseeably leading its deputies to believe their actions will
 7
                    never be meaningfully scrutinized and, in that way, encouraging and
 8
                    predictably resulting in unreasonable seizures uses of excessive force
 9
                    such as those Plaintiffs complain of;
10
              d. Pierce County should be held liable for the unconstitutional actions of its
11
                    deputies engaged in as agents of the County, consistent with the common
12
                    law as understood in 1871.
13
              92.      As a result of Pierce County’s actions, policies and practices, and the
14
     unjustified and unreasonable conduct of the Defendant Deputies, Plaintiffs suffered
15
     injuries, including pain, suffering, emotional distress, death, and a host of other
16
     harms to be proved at trial.
17

18                                      Count III—State Law Claim
                                                Negligence
19
              93.     Each of the paragraphs of this Complaint is incorporated as if fully
20
     stated here.
21
              94.     Pierce County, through its deputies, owes a duty of care to persons
22
     with whom they foreseeably interact with when they are dispatched to a particular
23
     scene.
24
              95.     The claim for negligence arises out of the duties owed to decedent
25
     William V. Langfitt, IV, by the County and by extension the defendant
26

27


      COMPLAINT - 13                                                         JAMES BIBLE LAW GROUP
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 1
     deputy who shot and killed him. It is foreseeable that when Defendant Deputy
 2
     Edwards pointed his gun at Billy Langfitt, who was experiencing mental health
 3
     impairment/distress, and failed to follow reasonable care to avoid using deadly force
 4
     that could unreasonably escalate a situation and these actions culminated into
 5
     Deputy Edwards shooting and killing Billy Langfitt. The duty arose, including but
 6
     not limited all the paragraphs set forth above, when the Deputy responded to the
 7
     scene and chose to interact with William V. Langfitt IV and pointed his gun at Billy.
 8
     The duties were breached when the officer/s chose to shoot an unarmed William V.
 9
     Langfitt, IV whoe was suffering a mental health impairment. But for these
10
     negligent actions of the Deputy and their employer the County, William V. Langfitt,
11
     IV, would be alive. Thus, the elements of negligence are met.
12
           96.    Pierce County owed such a duty to Billy Langfitt III and the actions of
13
     its agents and deputies breached that duty.
14
           97.    This breach proximately caused Billy Langfitt III’s severe injury and
15
     death, as described and alleged above.
16
           98.    Pierce County is liable to the Estate of William V. Langfitt IV for the
17
     negligent actions of its deputies which proximately caused him injury and death.
18
           99.    Pierce County is liable to Plaintiffs William Langfitt IV and Patricia
19
     Langfitt for the deliberately indifferent, reckless and negligent actions of its
20
     deputies which proximately caused injury to their child and destroyed their parent-
21
     child relationship.
22

23                                 Count IV—State Law Claim
                                        Wrongful Death
24
           100.       Each of the Paragraphs of this Complaint is incorporated as if fully
25
     stated herein.
26

27


      COMPLAINT - 14                                                      JAMES BIBLE LAW GROUP
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 1
           101.       All Defendants are liable for damages arising from their’ unlawful
 2
     conduct that caused Billy Langfitt’s death in that Billy’s injuries and death were
 3
     caused by the Defendant’ wrongful acts, neglect, carelessness, unskillfulness, or
 4
     default by the Defendant Deputies and others acting as agents of Pierce County.
 5
           102.       The Defendant’s actions as described in this Complaint were a
 6
     substantial factor in bringing about Billy Langfitt’s death, and without those
 7
     actions, the death of Billy would not have occurred.
 8
           103.       William Langfitt III and Patricia Langfitt have suffered destruction to
 9
     their parent child relationship, loss of companionship and mental anguish as a
10
     result of the wrongful death of their son.
11

12                                 Count V—State Law Claim
                                          Survival
13
           104.   Each of the Paragraphs of this Complaint is incorporated as if fully
14
     stated herein.
15
           105.   Plaintiff William Langfitt III is the legal representative authorized to
16
     pursue these claims against Defendants.
17
           106.       Prior to his death, Billy Langfitt suffered serious personal injuries
18
     including but not limited to severe pain and emotional distress.
19
           107.       All Defendants are liable for these damages arising from the
20
     Defendants’ unlawful conduct that caused Billy severe pain and emotional distress
21
     in that Billy’s injuries were caused by the Defendants’ wrongful acts, deliberate
22
     indifference, recklessness, neglect, carelessness, unskillfulness, or default while
23
     acting as agents of Pierce County.
24
           108.       The Defendant Deputy Edwards’ actions as described in this
25
     Complaint were a substantial factor in bringing about the injuries described in this
26
     Count, and without those actions, these injuries would not have occurred.
27


      COMPLAINT - 15                                                        JAMES BIBLE LAW GROUP
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 1                                Count VI—State Law Claim
                                      Indemnification
 2
           109.      Each paragraph of this Complaint is incorporated as if restated fully
 3
     herein.
 4
           110.      In committing the acts alleged in the preceding paragraphs, the
 5
     Defendant Deputies acted at all relevant times within the scope of their
 6
     employment for Pierce County.
 7
           111.      As a result, pursuant to State Law, Pierce County must indemnify the
 8
     Defendant Deputies for any judgment against them.
 9

10
                     Count VII—Respondeat Superior (WA. State Law)
11
           112.      Each paragraph of this Complaint is incorporated as if restated fully
12
     herein.
13
           113.      In committing the acts alleged in the preceding paragraphs, the
14
     Defendant Deputy acted at all relevant times within the scope of his employment
15
     for Pierce County.
16
           114.      Defendant Pierce County, as principal, is liable for all torts committed
17
     by its agents. Pierce County, as principal, should also be liable for the
18
     constitutional violations committed by its deputies, pursuant to the common law as
19
     understood in 1871, and because by law and County ordinance it is wholly
20
     responsible for providing the defense of the individual Defendant Deputies and for
21
     indemnifying them against any judgment or verdict that may result.
22

23

24
         COUNT VIII VIOLATION OF WASHINGTON STATE LAW AGAINST
25
                                       DISCRIMINATION
26

27
           115.     Per RCW 49.60.030, the defendants are liable to the

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 1   plaintiffs for violation of the plaintiffs' civil rights to the right to be free from
 2
     discrimination because of race, creed, color, national origin, sex, honorably
 3
     discharged veteran or military status, sexual orientation, or the presence of any
 4
     sensory, mental, or physical disability or the use of a trained dog guide or service
 5

 6   animal by a person with a disability is recognized as and declared to be a civil

 7   rights.
 8
            116.    Plaintiffs believe that Billy Langfitt was suffering from a mental
 9
     health crisis/disability. Defendant Colby Edwards did not attempt to negotiate or
10
     de-escalate the situation with William V. Langfitt, IV who was experiencing a
11

12   mental health crisis. Plaintiffs believe Defendant Deputy Edwards treated Billy

13   differently because he was suffering from a mental health crisis and this motivated
14
     Defendant Deputy Edwards to use excessive force based on the mental health
15
     disability causing Billy’s death.
16

17              WHEREFORE, Plaintiffs respectfully requests that this Court enter
18   judgment in their favor and against Defendants PIERCE COUNTY and Colby
19   Edwards; award compensatory damages and attorneys’ fees, as well as punitive
20   damages against PIERCE COUNTY AND Colby Edwards; and enter any additional
21   relief this Court deems just and appropriate. Plaintiffs prays that should a
22   judgment be entered against PIERCE COUNTY that injunctive relief be entered so
23   that the policies, practices, and customs of the Department that led to the tragic
24   death of BILLY LANGFITT IV can be reformed and, hopefully, prevent further
25   damage to the community in the future.
26

27


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 1
          DATED this 13th day of September, 2021.
 2
                                        JAMES BIBLE LAW GROUP
 3

 4

 5                                      By___/s/ James Bible________________
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 6
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 7                                            Bellevue, WA 98006
                                              Telephone: 425-519-3675
 8                                            Email: James@biblelawgroup.com
                                              Attorney for William Langfitt III,
 9
                                              Patty Langfitt and the Estate of
10                                            William Langfitt IV

11                                      VALDEZ LEHMAN, PLLC
12

13
                                        By __/s/ Jesse Valdez_____________________
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                                              William Langfitt IV
18

19
20                                      LOYAL LAW PLLC
21

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                                        By__/s Errin Loyal_________________
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                                              Attorney for William Langfitt III,
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                                              William Langfitt IV
26

27


     COMPLAINT - 18                                                JAMES BIBLE LAW GROUP
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